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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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MICHELLE TENZER-FUCHS, on behalf of                                    :
herself and all others similarly situated,                             :
                                                                       :   No.: ___________________
                               Plaintiff,                              :
                                                                       :   CLASS ACTION COMPLAINT
                                         v.                            :
                                                                       :    JURY TRIAL DEMANDED
JAGUAR LAND ROVER NORTH AMERICA, :
LLC,                                                                   :
                                                                       :
                              Defendant.                               :
                                                                       :
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                                                     INTRODUCTION
1.        Plaintiff Michelle Tenzer-Fuchs (hereinafter “Plaintiff”), on behalf of herself and others

          similarly situated, brings this civil rights action against Defendant, JAGUAR LAND

          ROVER NORTH AMERICA, LLC, for its failure to design, construct, maintain, and

          operate its website to be fully accessible to and independently usable by Plaintiff and other

          blind or visually-impaired people.

2.        Plaintiff is a visually-impaired and legally blind person who suffers from what constitutes

          a “qualified disability” under the Americans with Disabilities Act of 1990 (“ADA”) and

          thus requires screen-reading software to read website content using her computer. Plaintiff

          uses the terms “blind” or “visually-impaired” to refer to all people with visual impairments

          who meet the legal definition of blindness in that they have a visual acuity with correction

          of less than or equal to 20 x 200. Some blind people who meet this definition have limited

          vision while others are completely impaired and have no vision.




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3.      Defendant’s denial of full and equal access to its website, and therefore denial of its goods

        and services offered thereby, is a violation of Plaintiff’s rights under the ADA.

4.      Because Defendant’s website, www.jaguarhuntington.com (the “Website” or “Defendant’s

        website”), is not equally accessible to blind and visually-impaired consumers, it violates

        the ADA. Defendant’s website contains various access barriers that make it extremely

        difficult – if not impossible – for blind and visually-impaired consumers to attempt to

        complete a transaction.

5.      Plaintiff seeks a permanent injunction to initiate a change in Defendant’s corporate

        policies, practices, and procedures so that Defendant’s website will become and remain

        accessible to blind and visually-impaired consumers.

                                  JURISDICTION AND VENUE
6.      This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42

        U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181,

        et seq., and 28 U.S.C. § 1332.

7.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s pendent

        claims under the New York State Human Rights Law (“NYSHRL”), Article 15 of N.Y.

        Executive Law § 290 et seq., and the New York City Human Rights Law (“NYCHRL”),

        N.Y.C. Admin. Code § 8-101 et seq.

8.      Venue is proper in this district under 28 U.S.C. §1391(a)(2) because a substantial part of

        the acts and omissions giving rise to Plaintiff’s claims occurred in this District. Defendant

        has also been and is continuing to commit the alleged acts and omissions in this District

        that caused injury and violated Plaintiff’s rights and the rights of other disabled individuals.

        Courts have repeatedly held that the District in which Plaintiff tried and failed to access

        the Website is a proper venue for a suit such as this one, “although the Website may have


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        been created and operated outside of the District, [because] the attempts to access the

        Website in [this District] are part of the sequence of events underlying the claim. Therefore,

        venue is proper in [this District].” Access Now, Inc. v. Otter Products, LLC, 280 F.Supp.3d

        287, 294 (D. Mass. 2017).

9.      Defendant is also subject to personal jurisdiction in this District. Defendant has been, and

        is presently, committing the acts and omissions alleged herein in the Eastern District of

        New York, causing injury and violating the rights guaranteed to Plaintiff and other blind

        or visually-impaired-consumers under the ADA, NYSHRL, and the NYCHRL. On several

        separate occasions, Plaintiff has been denied the full use and enjoyment of the facilities,

        goods, and services offered to the general public on Defendant’s Website here in Nassau

        County due to the Website’s accessibility errors and barriers. Accordingly, by neglecting

        to mitigate such errors and barriers, Defendant is actively and unlawfully deterring Plaintiff

        and other blind or visually-impaired consumers here in Nassau County from accessing its

        Website and utilizing the facilities, goods, or services offered thereon.

10.     This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201 and

        2202.

                                             PARTIES
11.     Plaintiff Michelle Tenzer-Fuchs, at all relevant times, has been a resident of Nassau

        County, New York.

12.     Plaintiff is legally blind, visually-impaired, and handicapped person, making her a member

        of a protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and the

        regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the NYSHRL,

        and the NYCHRL. Plaintiff, Michelle Tenzer-Fuchs, cannot use a computer without the

        assistance of screen-reading software. Plaintiff has been denied the full enjoyment of the


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      facilities, goods, and services offered on www.jaguarhuntington.com as a result of the

      accessibility barriers that permeate the site.

13.   Defendant is and was at all relevant times a Delaware Corporation doing business in New

      York.

14.   Defendant     owns,    manages,      controls,   and   maintains     its   public   Website,

      www.jaguarhuntington.com, and the facilities, goods, and services offered thereupon,

      which qualify Defendant’s Website as a place of public accommodation within the

      definition of Title III of the ADA, 42 U.S.C. § 12181(7).

15.   Under the law, Websites which hold themselves out to be “places of exhibition and

      entertainment,” “places of recreation,” and/or “service establishments” are, by legal

      definition, places of public accommodation. 28 CFR §§ 36.201 (a); 42 U.S.C. § 12181 (7).

                                     NATURE OF ACTION
16.   The Internet is a significant source of information, constituting both a channel leading to

      endless discoveries, and a tool that can be actively used for conducting business, shopping,

      learning, banking, researching, as well as for accomplishing many other activities, by

      sighted, blind, and visually-impaired persons alike.

17.   Although the Internet has been vital to human life for some time now, it has become

      exponentially more essential since the emergence of the COVID-19 pandemic. As this

      pandemic swept the globe, the world has shifted to an almost entirely online model. It is

      now essential for restaurants to have a website for customers to place pick-up and delivery

      orders. Entertainment venues have had to adapt to being able to deliver performances to

      their audiences via their websites or an online streaming service. Educational institutions

      of all levels have had to shift away from classroom teaching entirely and replace it with

      completely virtual instruction, often for the first time in their histories. And additionally,


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      due to store closures and new building capacity limitations, a large majority of stores and

      other service-focused businesses today must now rely on their websites to serve as the main

      point of contact and sale between their business and consumers. And in order for blind and

      visually-impaired individuals to engage in all of these newly networked aspects of our

      world today, websites must be accessible to screen-reading software.

18.   Blind and visually-impaired users of Windows operating system computers and devices

      have several screen-reading software programs available to them. Some of these programs

      are available for purchase and other programs are available for subscription, but they all

      work in largely the same ways: they read and/or describe the contents of a webpage to the

      blind or visually-impaired users trying to access it. Job Access With Speech (“JAWS”),

      and NonVisual Desktop Access (“NVDA”) are among the most popular.

19.   By using keyboards in conjunction with one or more of the aforementioned software

      programs, blind and visually-impaired people have the ability to access websites and

      interact with them as would a sighted user, because the software can describe the visual

      information found on a computer screen or in some cases, can even display the content on

      a refreshable Braille display. Each of these kinds of technology is what is known as screen-

      reading software.

20.   Screen-reading software is currently the only method by which a blind or visually-impaired

      person may independently access the Internet. Unless websites are designed to be read by

      screen-reading software, blind and visually-impaired persons are unable to fully access

      websites, or the information, products, goods, and services contained therein.

21.   For screen-reading software to function, however, the information on a website must be

      capable of being rendered into text. If the website content is not capable of being rendered




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      into text, a blind or visually-impaired user will not be able to access the same content

      available to sighted users.

22.   The international website standards organization, the World Wide Web Consortium,

      known throughout the world as W3C, has published version 2.1 of the Web Content

      Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for

      making websites accessible to blind and visually-impaired people. These guidelines are

      universally followed by most large business entities and government agencies to ensure

      their websites are accessible.

23.   Non-compliant websites pose common access barriers to blind and visually-impaired

      persons. Common barriers encountered by blind and visually-impaired persons include,

      but are not limited to, the following:

             a.      Missing alternative text (“alt-text”) or text equivalent for every non-

             text element. Alt-text is an invisible code embedded beneath a graphical image on

             a website. Web accessibility requires that alt-text be coded with each picture so that

             screen-reading software can speak the alt-text where a sighted user sees pictures,

             which includes captcha prompts. Alt-text does not change the visual presentation,

             but instead, a text box shows when the cursor moves over the picture;

             b.      Videos that do not maintain audio descriptions;

             c.      Title frames that do not include text for identification and

             navigation;

             d.      Lack of equivalent text provided when using scripts;

             e.      Inaccessible forms that do not provide the same information and

             functionality available for sighted persons;




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         f.      Information about the meaning and structure of content is not

         conveyed by more than the visual presentation of the content;

         g.      Text cannot be resized without assistive technology up to 200%

         without losing content or functionality;

         h.      If the content enforces a time limit, the user is not able to extend,

         adjust or disable it;

         i.      Web pages that do not have titles describing the topic or purpose;

         j.      The purpose of each link cannot be determined from the link text

         alone or from the link text and its programmatically determined link context;

         k.      One or more keyboard operable user interfaces lack a mode of

         operation where the keyboard focus indicator is discernible;

         l.      The default human language of each web page cannot be

         programmatically determined;

         m.      Changing the setting of a user interface component automatically

         causes a change of context that the user has not been advised of before using the

         component;

         n.      Labels or instructions are not provided when content requires user

         input, which includes captcha prompts that require the user to verify that she is not

         a robot;

         o.      In content implemented by using markup languages, elements do not

         have complete start and end tags, are not nested according to their specifications,

         contain duplicate attributes, and/or are not unique;

         p.      Inaccessible Portable Document Format (PDFs); and,




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             q.      The name and role of all User Interface elements cannot be

             programmatically determined; items that can be set by the user cannot be

             programmatically set; and/or notification of changes to these items is not available

             to user agents, including via assistive technology.

                                  STATEMENT OF FACTS
24.   Defendant is an online retailer, specializing in the sale of new and used luxury vehicles on

      Long Island, New York. Defendant offers new and used cars, trucks, sedans, and SUVs for

      sale through its Long Island, New York showroom and online through its website,

      www.jaguarhuntington.com (its “Website”). Defendant owns, operates, manages, and

      controls www.jaguarhuntington.com, which allows Defendant to sell its vehicles on both

      a national and international scale.

25.   Defendant’s Website is a commercial marketplace. The Website offers features of a

      physical marketplace in that it allows all consumers to browse goods and services, provides

      details about the products, notifies users of special sale or clearance items, and completes

      purchases of products, which Defendant will thereafter ensure the delivery of throughout

      the United States, including in New York State.

26.   Defendant’s Website is integrated with its retail showroom and business operations. The

      retail showroom along with Defendant’s Website offers products and services for online

      sale and general delivery to the public. The Website offers features that ought to allow

      users to learn about Defendant’s products and services, browse for items and information,

      access navigation bar descriptions, prices, sales, coupons, and discount items, as well as to

      simply peruse the numerous items offered for sale. The features offered by

      www.jaguarhuntington.com include product descriptions, information about the company,

      review boards, and purchase portals.


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27.   It is, upon information and belief, Defendant’s policy and practice to deny Plaintiff and

      other blind or visually-impaired users access to its Website, thereby denying the facilities

      and services that are offered and integrated with its retail operations. Due to its failure and

      refusal to remove access barriers to its Website, Plaintiff and visually-impaired persons

      have been and are still being denied equal access to Defendant’s retail operations and the

      numerous facilities, goods, services, and benefits offered to the public through its Website.

28.   Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

      without the assistance of screen-reading software. Plaintiff has visited the Website on

      separate occasions using her NVDA screen-reader.

29.   During Plaintiff’s visits to the Website, www.jaguarhuntington.com, the last occurring in

      August of 2021, Plaintiff encountered multiple access barriers which effectively denied her

      the full enjoyment of the goods and services of the Website. Plaintiff visited Defendant’s

      Website with an intent to browse and attempt to purchase a new Jaguar for her son. Despite

      her efforts, however, Plaintiff was denied a shopping experience similar to that of a sighted

      individual due to the website’s lack of a range of features and accommodations, which

      effectively barred Plaintiff from being able to make her desired purchase.

30.   The issues started on the homepage of the site, where Plaintiff immediately found that she

      was unable to figure out how to navigate to other pages because her reader could not read

      several of the page options, even when she actually selected one rather than just hovering

      over it.

31.   Additionally on the homepage, during multiple of her visits to the site, Plaintiff found that

      the headings, banners, and images onscreen would run away across the screen when she

      attempted to tab to them. When her cursor selected one of these items, the item would




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      bounce away before her reader could read or describe the content depicted. Further into the

      site, too, Plaintiff unfortunately found that the issue with bouncing images and text boxes

      continued, which greatly hindered her ability to browse vehicles available for purchasing.

32.   Moreover, even on pages where the images and text boxes did not boucnce away, Plaintiff

      found that her reader would only begin to read her the beginning of a passage of text or

      product description, as if the descriptions were cut off.

33.   These issues indicate that many features on Defendant’s Website lack adequate alt. text,

      which is the invisible code embedded beneath a graphical image. Due to this failure of the

      Website to adequately describe its content, Plaintiff’s NVDA reader was unable to identify

      headings onscreen or meaningfully differentiate between images of products depicted.

34.   Further into the site, Plaintiff repeatedly found that even when she would get her reader to

      describe something on a page to her, a “Help” button would randomly pop-up, making her

      reader stop talking and taking her to a screen she did not want to go to.

35.   On still more pages, Plaintiff encountered buttons onscreen that her screen-reader could

      identify, though her reader would not let her interact with them in any meaningful way.

      For example, on one page, Plaintiff found a button that said, “Apply for…,” and she

      selected this – but nothing happened. She tried to select this button multiple times, even

      zooming in on the button to try, but still nothing would happen.

36.   Upon information and belief, these issues on the Website indicate that the site is missing

      label elements or title attributes for each field. This is paralyzing for the visually-impaired

      because the screen reader fails to communicate the purpose of the page elements. It also

      leads to the user not being able to understand what he or she is expected to insert into the

      subject field.




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37.   The Website also contained a host of broken links, which is a hyperlink to a non-existent

      or empty webpage. For the visually-impaired, this is especially paralyzing due to the

      inability to navigate or otherwise determine where one is on the website once a broken link

      is encountered. For example, upon coming across a link of interest, Plaintiff was redirected

      to an error page. However, the screen-reader failed to communicate that the link was

      broken. As a result, Plaintiff could not get back to her original search.

38.   Plaintiff   has    made      multiple    attempts     to    complete        a   purchase   on

      www.jaguarhuntington.com, most recently in August of 2021, but was unable to do so

      independently because of the many access barriers on Defendant’s website. These access

      barriers have caused www.jaguarhuntington.com to be inaccessible to, and not

      independently usable by, blind and visually-impaired persons.

39.   These access barriers effectively denied Plaintiff the ability to use and enjoy Defendant’s

      website the same way sighted individuals do. The access barriers Plaintiff encountered

      have caused a denial of Plaintiff’s full and equal access in the past, and now deter Plaintiff

      on a regular basis from accessing the Website.

40.   Due to the inaccessibility of Defendant’s Website, blind and visually-impaired customers

      such as Plaintiff, who need screen-readers, cannot fully and equally use or enjoy the

      facilities, products, and services Defendant offers to the public on its Website. The access

      barriers Plaintiff encountered have caused a denial of Plaintiff’s full and equal access in

      the past, and now deter Plaintiff on a regular basis from visiting the Website, presently and

      in the future.

41.   But for the Website’s access barriers, Plaintiff would have returned to and further utilized

      Defendant’s Website.




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42.   If the Website was equally accessible to all, Plaintiff could independently navigate the

      Website and complete a desired transaction as sighted individuals do.

43.   Through her attempts to use the Website, Plaintiff has actual knowledge of the access

      barriers that make these services inaccessible and independently unusable by blind and

      visually-impaired people.

44.   Because simple compliance with the WCAG 2.1 Guidelines would provide Plaintiff and

      other visually-impaired consumers with equal access to the Website, Plaintiff alleges that

      Defendant has engaged in acts of intentional discrimination, including but not limited to

      the following policies or practices:

             a.      Constructing and maintaining a website that is inaccessible to

             visually-impaired individuals, including Plaintiff;

             b.      Failure to construct and maintain a website that is sufficiently intuitive

             so as to be equally accessible to visually-impaired individuals, including Plaintiff; and,

             c.      Failing to take actions to correct these access barriers in the face of

             substantial harm and discrimination to blind and visually-impaired consumers, such

             as Plaintiff, as a member of a protected class.

45.   Defendant, therefore, uses standards, criteria, or methods of administration that have the effect

      of discriminating or perpetuating the discrimination of others, as alleged herein.

46.   The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this action. In

      relevant part, the ADA requires:

             In the case of violations of . . . this title, injunctive relief shall include
             an order to alter facilities to make such facilities readily accessible
             to and usable by individuals with disabilities . . . Where appropriate,
             injunctive relief shall also include requiring the . . . modification of
             a policy . . .




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                                                                    42 U.S.C. § 12188(a)(2).

47.   Because Defendant’s Website has never been equally accessible, and because Defendant

      lacks a corporate policy that is reasonably calculated to cause its Website to become and

      remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent

      injunction requiring:

             a. that Defendant retain a qualified consultant acceptable to Plaintiff (“Mutually

                 Agreed Upon Consultant”) who shall assist it in improving the accessibility of its

                 Website so the goods and services on them may be equally accessed and enjoyed

                 by individuals with vision-related disabilities;

             b. that Defendant work with the Mutually Agreed Upon Consultant to ensure that all

                 employees involved in website development and content development be given

                 web accessibility training on a periodic basis, including onsite training to create

                 accessible content at the design and development stages;

             c. that Defendant work with the Mutually Agreed Upon Consultant to perform an

                 automated accessibility audit on a periodic basis to evaluate whether Website may

                 be equally accessed and enjoyed by individuals with vision-related disabilities on

                 an ongoing basis;

             d. that Defendant work with the Mutually Agreed Upon Consultant to perform end-

                 user accessibility/usability testing on a periodic basis with said testing to be

                 performed by individuals with various disabilities to evaluate whether Website may

                 be equally accessed and enjoyed by individuals with vision-related disabilities on

                 an ongoing basis;




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             e. that Defendant work with the Mutually Agreed Upon Consultant to create an

                 accessibility policy that will be posted on its Website, along with an e-mail address

                 and tollfree phone number to report accessibility-related problems; and

             f. that Plaintiff, their counsel, and its experts monitor Defendant’s Website for up to

                 two years after the Mutually Agreed Upon Consultant validates it is free of

                 accessibility errors/violations to ensure it has adopted and implemented adequate

                 accessibility policies.


48.   Although Defendant may currently have centralized policies regarding maintaining and

      operating its Website, Defendant lacks a plan and policy reasonably calculated to make

      them fully and equally accessible to, and independently usable by, blind and other visually-

      impaired consumers.

49.   Defendant has, upon information and belief, invested substantial amounts of money in

      developing and maintaining its Website and, through the site, has generated significant

      revenue. The invested amounts are far greater than the associated cost of making their

      Website equally accessible to visually-impaired consumers.

50.   Without injunctive relief, Plaintiff and other visually-impaired consumers will continue to

      be unable to independently use the Website, violating their rights.

                              CLASS ACTION ALLEGATIONS
51.   Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a nationwide

      class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the United

      States who have attempted to access Defendant’s Website and as a result have been denied

      access to the equal enjoyment of goods and services, during the relevant statutory period.

52.   Plaintiff, on behalf of herself and all others similarly situated, seeks certify a New York City

      subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the City of


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      New York who have attempted to access Defendant’s Website and as a result have been denied

      access to the equal enjoyment of goods and services offered, during the relevant statutory

      period.

53.   Common questions of law and fact exist amongst Class, including:

                a.     Whether Defendant’s Website is a “public accommodation” under

                the ADA;

                b.     Whether Defendant’s Website is a “place or provider of public

                accommodation” under the NYSHRL and the NYCHRL;

                c.     Whether Defendant’s Website denies the full and equal enjoyment

                of its products, services, facilities, privileges, advantages, or accommodations to

                people with visual disabilities, violating the ADA; and

                d.     Whether Defendant’s Website denies the full and equal enjoyment

                of its products, services, facilities, privileges, advantages, or accommodations to

                people with visual disabilities, violating the NYSHRL and the NYCHRL.

54.   Plaintiff’s claims are typical of the Class. The Class, similarly to Plaintiff, are severely

      visually-impaired or otherwise blind and likewise claim that Defendant has violated the

      ADA, NYSHRL, and the NYCHRL by failing to update or remove access barriers on its

      Website so either can be independently accessible to the Class.

55.   Plaintiff will fairly and adequately represent and protect the interests of the Class Members

      because Plaintiff has retained and is represented by counsel competent and experienced in

      complex class action litigation, and because Plaintiff has no interests antagonistic to the

      Class Members. Class certification of the claims is appropriate under Fed. R. Civ. P.

      23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to




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      the Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff

      and the Class as a whole.

56.   Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because fact

      and legal questions common to Class Members predominate over questions affecting only

      individual Class Members, and because a class action is superior to other available methods

      for the fair and efficient adjudication of this litigation.

57.   Judicial economy will be served by maintaining this lawsuit as a class action in that it is

      likely to avoid the burden that would be otherwise placed upon the judicial system by the

      filing of numerous similar suits by people with visual disabilities throughout the United

      States.

                             FIRST CAUSE OF ACTION
                    VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.
58.   Plaintiff, on behalf of herself and the Class Members, repeats and realleges every allegation

      of the preceding paragraphs as if fully set forth herein.

59.   Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

                No individual shall be discriminated against on the basis of
                disability in the full and equal enjoyment of the goods, services,
                facilities, privileges, advantages, or accommodations of any place
                of public accommodation by any person who owns, leases (or leases
                to), or operates a place of public accommodation.

                                                                    42 U.S.C. § 12182(a).

60.   The Website www.jaguarhuntington.com is a public accommodation within the definition

      of Title III of the ADA, 42 U.S.C. § 12181(7). The Website offers services to the general

      public, and as such, must be equally accessible to all potential consumers.

61.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

      individuals with disabilities the opportunity to participate in or benefit from the products,



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      services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

      12182(b)(1)(A)(i).

62.   Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

      among other things:

             [A] failure to make reasonable modifications in policies, practices,
             or procedures, when such modifications are necessary to afford such
             goods,     services,    facilities, privileges, advantages,       or
             accommodations to individuals with disabilities, unless the entity
             can demonstrate that making such modifications would
             fundamentally alter the nature of such goods, services, facilities,
             privileges, advantages or accommodations; and a failure to take such
             steps as may be necessary to ensure that no individual with a
             disability is excluded, denied services, segregated or otherwise
             treated differently than other individuals because of the absence of
             auxiliary aids and services, unless the entity can demonstrate that
             taking such steps would fundamentally alter the nature of the good,
             service, facility, privilege, advantage, or accommodation being
             offered or would result in an undue burden.

                                                      42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

63.   The acts alleged herein constitute violations of Title III of the ADA, and the regulations

      promulgated thereunder. Plaintiff, who is a member of a protected class of persons under

      the ADA, has a physical disability that substantially limits the major life activity of sight

      within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

64.   In the present case, Plaintiff has been denied full and equal access to the Website and

      consequently has also been denied the services that are provided to other patrons who are

      not disabled. Instead, Plaintiff has been provided services that are inferior to the services

      provided to non-disabled persons, and Defendant has failed to take any prompt or equitable

      steps to remedy this discriminatory conduct. These violations are ongoing.

65.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

      incorporated therein, Plaintiff, requests relief as set forth below.



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                               SECOND CAUSE OF ACTION
                              VIOLATIONS OF THE NYSHRL

66.   Plaintiff repeats, realleges, and incorporates by reference the allegations contained in

      paragraphs 1 through 72 of this Complaint as though set forth at length herein.

67.   N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice for

      any person, being the owner, lessee, proprietor, manager, superintendent, agent, or

      employee of any place of public accommodation . . . because of the . . . disability of any

      person, directly or indirectly, to refuse, withhold from or deny to such person any of the

      accommodations, advantages, facilities or privileges thereof.”.

68.   The Website www.jaguarhuntington.com is a sales establishment and public

      accommodation within the definition of N.Y. Exec. Law § 292(9).

69.   Defendant is subject to the New York Human Rights Law because it owns and operates

      www.jaguarhuntington.com. Defendant is a person within the meaning of N.Y. Exec.

      Law. § 292(1).

70.   Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove

      access barriers to its site, causing www.jaguarhuntington.com to be completely

      inaccessible to the blind. This inaccessibility denies blind patrons the full and equal

      access to the facilities, goods, and services that Defendant makes available to the non-

      disabled public.

71.   Specifically, under N.Y. Exec. Law, “unlawful discriminatory practice” includes, among

      other things, “a refusal to make reasonable modifications in policies, practices, or

      procedures, when such modifications are necessary to afford facilities, privileges,

      advantages or accommodations to individuals with disabilities, unless such person can




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      demonstrate that making such modifications would fundamentally alter the nature of such

      facilities, privileges, advantages or accommodations.”

72.   In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice also

      includes, “a refusal to take such steps as may be necessary to ensure that no individual

      with a disability is excluded or denied services because of the absence of auxiliary aids

      and services, unless such person can demonstrate that taking such steps would

      fundamentally alter the nature of the facility, privilege, advantage or accommodation

      being offered or would result in an undue burden.”

73.   There are readily available, well-established guidelines on the Internet for making

      websites accessible to the blind and visually-impaired. These guidelines have been

      followed by other business entities in making their websites accessible, including but not

      limited to: adding alt-text to graphics and ensuring that all features of the site can be

      accessed using a keyboard. Incorporating these basic components to make

      www.jaguarhuntington.com accessible would neither fundamentally alter the nature of

      Defendant’s business nor result in an undue burden to Defendant.

74.   Defendant’s actions constitute willful intentional discrimination against the class on the

      basis of a disability in violation of the New York State Human Rights Law, N.Y. Exec.

      Law § 296(2) in that Defendant has:

             (a) constructed and maintained a website that is inaccessible to blind class

             members with knowledge of the discrimination; and/or

             (b) constructed and maintained a website that is sufficiently intuitive and/or

             obvious that is inaccessible to blind class members; and/or




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             (c) failed to take actions to correct these access barriers in the face of substantial

             harm and discrimination to blind class members.


75.   Defendant has failed to take any prompt or equitable steps to remedy its discriminatory

      conduct. These violations are ongoing.

76.   As such, Defendant has been, and is presently, discriminating against Plaintiff and the

      Class Members on the basis of their disability by denying them the full and equal

      enjoyment of the goods, services, facilities, privileges, advantages, accommodations, and

      opportunities of www.jaguarhuntington.com, in continuous violation of N.Y. Exec. Law

      § 296(2) et seq. and its implementing regulations.

77.   Unless the Court enjoins Defendant from continuing to engage in these unlawful

      practices, Plaintiff and the Class Members will continue to suffer irreparable harm.

78.   The actions of Defendant were and are in violation of the NYSHRL and therefore

      Plaintiff invokes his right to injunctive relief to remedy the discrimination.

79.   Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines

      pursuant to N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

80.   Plaintiff is further entitled to reasonable attorneys’ fees and costs.

81.   Pursuant to N.Y. Exec. Law § 297, and the remedies, procedures, and rights set

      forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                                 THIRD CAUSE OF ACTION
                               VIOLATIONS OF THE NYCHRL
82.   Plaintiff, on behalf of herself and the New York City Sub-Class Members, repeats and

      realleges every allegation of the preceding paragraphs as if fully set forth herein.

83.   N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

      discriminatory practice for any person, being the owner, lessee, proprietor, manager,


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      superintendent, agent or employee of any place or provider of public accommodation,

      because of . . . disability . . . directly or indirectly, to refuse, withhold from or deny to such

      person, any of the accommodations, advantages, facilities or privileges thereof.”

84.   Defendant’s Website is a sales establishment and public accommodation within the

      definition of N.Y.C. Admin. Code § 8-102(9).

85.   Defendant is subject to NYCHRL because it owns and operates the Website, making it a

      person within the meaning of N.Y.C. Admin. Code § 8-102(1).

86.   Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or

      remove access barriers to Website, causing its Website and the services integrated with

      such Website to be completely inaccessible to the blind. This inaccessibility denies blind

      patrons full and equal access to the facilities, products, and services that Defendant makes

      available to the non-disabled public.

87.   Defendant is required to “make reasonable accommodation to the needs of persons with

      disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from

      discriminating on the basis of disability shall make reasonable accommodation to enable a

      person with a disability to . . . enjoy the right or rights in question provided that the

      disability is known or should have been known by the covered entity.” N.Y.C. Admin.

      Code § 8-107(15)(a).

88.   Defendant’s actions constitute willful intentional discrimination against the Sub-Class on

      the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and

      § 8-107(15)(a) in that Defendant has:

              a.      constructed and maintained a website that is inaccessible to blind

              class members with knowledge of the discrimination; and/or




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             b.      constructed and maintained a website that is sufficiently intuitive

             and/or obvious that is inaccessible to blind class members; and/or

             c.      failed to take actions to correct these access barriers in the face of

             substantial harm and discrimination to blind class members.

89.   Defendant has failed to take any prompt or equitable steps to remedy their discriminatory

      conduct. These violations are ongoing.

90.   As such, Defendant discriminates and will continue in the future to discriminate against

      Plaintiff and Members of the Sub-Class on the basis of disability in the full and equal

      enjoyment of the products, services, facilities, privileges, advantages, accommodations,

      and opportunities of its Website under § 8-107(4)(a) and its implementing regulations.

      Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

      Plaintiff and the Sub-Class Members will continue to suffer irreparable harm.

91.   Defendant’s actions were and are in violation of the NYCHRL and therefore Plaintiff

      invokes her right to injunctive relief to remedy the discrimination.

92.   Plaintiff is also entitled to compensatory damages, civil penalties and fines under N.Y.C.

      Administrative Code § 8-120(8) and § 8-126(a) for each offense, and punitive damages

      pursuant to § 8-502.

93.   Plaintiff is also entitled to reasonable attorneys’ fees and costs.

94.   Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies, procedures, and

      rights set forth and incorporated therein Plaintiff prays for judgment as set forth below.




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                                 FOURTH CAUSE OF ACTION
                                   DECLARATORY RELIEF
95.   Plaintiff, on behalf of herself and the Class and New York City Sub-Class Members,

      repeats and realleges every allegation of the preceding paragraphs as if fully set forth

      herein.

96.   An actual controversy has arisen and now exists between the parties in that Plaintiff

      contends,      and    is   informed     that     Defendant   denies,    that    its   Website,

      www.jaguarhuntington.com, contains access barriers that routinely deny blind customers

      the full and equal access to the products, services, and facilities of the site. Since Defendant

      owns, operations and controls the Website, Defendant is liable for the site’s failure to

      comply with applicable laws, including, but not limited to, Title III of the Americans with

      Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

      Admin. Code § 8-107, et seq., which prohibit discrimination against the blind.

97.   A judicial declaration is necessary and appropriate at this time so that each of the parties

      may know their respective rights and duties and act accordingly.

                                     PRAYER FOR RELIEF
      WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

                a.     A preliminary and permanent injunction to prohibit Defendant from

                violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C.

                Administrative Code § 8-107, et seq., and the laws of New York;

                b.     A preliminary and permanent injunction requiring Defendant to take

                all the steps necessary to make its Website into full compliance with the

                requirements set forth in the ADA, and its implementing regulations, so that the

                Website is readily accessible to and usable by blind individuals;




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                c.      A declaration that Defendant owns, maintains, and/or operates its

                Website in a manner that discriminates against the blind and which fails to provide

                access for persons with disabilities as required by Americans with Disabilities Act,

                42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296(2) et seq., N.Y.C.

                Administrative Code § 8-107, et seq., and the laws of New York;

                d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

                23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and her

                attorneys as Class Counsel;

                e.      Compensatory damages in an amount to be determined by proof,

                including all applicable statutory and punitive damages and fines, to Plaintiff and

                the proposed class and subclasses for violations of their civil rights under New York

                State and New York City Human Rights Law;

                f.      Pre- and post-judgment interest;

                g.      An award of costs and expenses of this action together with

                reasonable attorneys’ and expert fees; and

                h.      Such other and further relief as this Court deems just and proper.

                                 DEMAND FOR TRIAL BY JURY

         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions of fact

the Complaint raises.


Dated:      Forest Hills, New York
            September 1, 2021


                                               SHALOM LAW, PLLC.

                                               By: /s/Jonathan Shalom



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                                  Jonathan Shalom, Esq.
                                  105-13 Metropolitan Avenue
                                  Forest Hills, New York 11375
                                  Tel: (718) 971-9474
                                  Email: Jonathan@ShalomLawNY.com

                                  ATTORNEYS FOR PLAINTIFF




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